                               UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION


ALMONDNET, INC., and INTENT IQ, LLC,

                        Plaintiffs,                  Case No. 6:21-cv-00731

                v.                                   JURY TRIAL DEMANDED

ROKU, INC.,

                        Defendant.



                 COMPLAINT FOR PATENT INFRINGEMENT AGAINST
                                 ROKU, INC.

        This is an action for patent infringement arising under the Patent Laws of the United States

of America, 35 U.S.C. § 1 et seq., in which Plaintiffs AlmondNet, Inc. and Intent IQ, LLC

(collectively, “Plaintiff” or “AlmondNet”) makes the following allegations against Defendant

Roku, Inc. (“Defendant” or “Roku”):

                                 INTRODUCTION AND PARTIES

        1.      This complaint arises from Defendant’s unlawful infringement of the following

United States patents owned by AlmondNet, each of which generally relate to novel internet /

network based advertising systems and methods: United States Patent Nos. 8,244,586; 10,026,100;

8,677,398; 10,715,878; 8,566,164; 10,321,198; 10,628,857; 7,822,639; 8,595,069 (collectively,

the “Asserted Patents”). AlmondNet owns all right, title, and interest in each of the Asserted

Patents to file this case.

        2.      AlmondNet, Inc. is a is a corporation organized and existing under the laws of the

state of Delaware, having its place of business at 37-18 Northern Blvd Suite 404, Long Island City,

NY, 11101. Intent IQ, LLC is a Delaware limited liability company, having its place of business


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at 37-18 Northern Blvd Suite 404, Long Island City, NY, 11101. AlmondNet, Inc. and Intent IQ,

LLC are collectively referred herein as “AlmondNet.” Established in 1998, AlmondNet is an

industry leader and pioneer in privacy-friendly, targeted advertising. AlmondNet has developed

an extensive suite of industry-leading targeted advertising solutions and products, is focused on

R&D and the licensing of its extensive portfolio of enabling technology and Intellectual Property

covering numerous areas of the targeting landscape and ecosystem, including profile based

bidding, behavioral targeting, online and offline data monetization, addressable advertising, and

multi-platform advertising.

       3.      On information and belief, Defendant Roku, Inc. (“Roku”) is a Delaware

corporation with a regular and established place of business located at 9606 N. Mopac Expressway,

Suite 400, Austin, Texas 78759. Roku may be served with process through its registered agent,

Corporation Service Company d/b/a CSC – Lawyers Incorporating Service Company, located at

211 7th Street, Suite 620, Austin, Texas 78701. Defendant designs and manufactures and/or has

manufactured on its behalf abroad the Accused Products that are then sold for importation into the

United States, imported into the United States, and/or sold, offered for sale, and/or used within the

United States after importation.

                                   JURISDICTION AND VENUE

       4.      This action arises under the patent laws of the United States, Title 35 of the United

States Code. This Court has original subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).

       5.      This Court has personal jurisdiction over Defendant in this action because

Defendant has committed acts within this District giving rise to this action, and has established

minimum contacts with this forum such that the exercise of jurisdiction over Defendant would not




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offend traditional notions of fair play and substantial justice. Defendant, directly and through

subsidiaries or intermediaries, has committed and continue to commit acts of infringement in this

District by, among other things, importing, offering to sell, and selling products that infringe the

asserted patents.

        6.      Venue is proper in this District. For example, Roku has a regular and established

place of business located at 9606 N. Mopac Expressway, Suite 400, Austin, Texas 78759. See

https://www.roku.com/jobs/locations

                                             COUNT I

                      INFRINGEMENT OF U.S. PATENT NO. 8,244,586

        7.      AlmondNet realleges and incorporates by reference the foregoing paragraphs as if

fully set forth herein.

        8.      AlmondNet owns all rights, title, and interest in U.S. Patent No. 8,244,586, titled

“computerized systems for added-revenue off-site targeted internet advertising,” issued on August

14, 2012. (’586 patent). A true and correct copy of the ’586 Patent is attached as Exhibit ..

        9.      On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“Accused Products”), such as, e.g., Roku’s advertising platform, that

directly infringe, literally and/or under the doctrine of equivalents, claims of the ’586 patent.

        10.     The infringement of the Asserted Patents is also attributable to Defendant.

Defendant and/or users of the Accused Products directs and controls use of the Accused Products

to perform acts that result in infringement the Asserted Patents, conditioning benefits on

participation in the infringement and establishing the timing and manner of the infringement.

        11.     Defendant’s infringement has been and is willful. Defendant knew of the ‘586

patent long before this suit was filed. For example, AlmondNet and Defendant communicated, e.g.,




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in the 2015 time frame and after 2015, regarding AlmondNet’s patent portfolio, including the

Asserted Patents. In these discussions, AlmondNet notified Defendant of the asserted patents,

including the ‘586 patent. Despite Defendant’s knowledge of the ‘586 patent, Defendant continued

to infringe. In doing so, Defendant knew, or should have known, that its conduct amounted to

infringement of the ‘586 patent. Accordingly, Defendant is liable for willful infringement.

       12.     Defendant also knowingly and intentionally induces infringement of claims of the

‘586 patent in violation of 35 U.S.C. § 271(b). Defendant has had knowledge of the ‘586 patent

and the infringing nature of the Accused Products at least as early as when this Complaint was

filed and/or earlier, as set forth above. Despite this knowledge of the ‘586 patent, Defendant

continues to actively encourage and instruct its customers and end users (for example, through

user manuals and online instruction materials on its website) to use the Accused Products in ways

that directly infringe the ‘586 patent. Defendant does so knowing and intending that its customers

and end users will commit these infringing acts. Defendant also continues to make, use, offer for

sale, sell, and/or import the Accused Products, despite its knowledge of the ‘586 patent, thereby

specifically intending for and inducing its customers to infringe the ‘586 patent through the

customers’ normal and customary use of the Accused Products.

       13.     Defendant has also infringed, and continue to infringe, claims of the ‘586 patent by

offering to commercially distribute, commercially distributing, making, and/or importing the

Accused Products, which are used in practicing the process, or using the systems, of the patent,

and constitute a material part of the invention. Defendant knows the components in the Accused

Products to be especially made or especially adapted for use in infringement of the patent, not a

staple article, and not a commodity of commerce suitable for substantial noninfringing use.

Accordingly, Defendant has been, and currently are, contributorily infringing the ‘586 patent, in




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violation of 35 U.S.C. § 271(c).

        14.     The Accused Products satisfy all claim limitations of claims of the ‘586 patent. A

claim charts comparing independent claims of the ‘586 patent to representative Accused Product,

is attached as Exhibit ..

        15.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Defendant has injured AlmondNet and are liable for infringement of the

‘586 patent pursuant to 35 U.S.C. § 271.

        16.     As a result of Defendant’s infringement of the ‘586 patent, AlmondNet is entitled

to monetary damages in an amount adequate to compensate for Defendant’s infringement, but in

no event less than a reasonable royalty for the use made of the invention by Defendant, together

with interest and costs as fixed by the Court.

        17.     Defendant’s infringing activities have injured and will continue to injure

AlmondNet, unless and until this Court enters an injunction prohibiting further infringement of the

‘586 patent, and, specifically, enjoining further manufacture, use, sale, importation, and/or offers

for sale that come within the scope of the patent claims.

                                            COUNT II

                      INFRINGEMENT OF U.S. PATENT NO. 10,026,100

        18.     AlmondNet realleges and incorporates by reference the foregoing paragraphs as if

fully set forth herein.

        19.     AlmondNet owns all rights, title, and interest in U.S. Patent No. 10,026,100, titled

“methods and apparatus for facilitated off-site targeted internet advertising,” issued on July 17,

2018. (’100 patent). A true and correct copy of the ’100 Patent is attached as Exhibit ..

        20.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or




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imports certain products (“Accused Products”), such as, e.g., Roku’s advertising platform, that

directly infringe, literally and/or under the doctrine of equivalents, claims of the ‘100 patent.

       21.     The infringement of the Asserted Patents is also attributable to Defendant.

Defendant and/or users of the Accused Products directs and controls use of the Accused Products

to perform acts that result in infringement the Asserted Patents, conditioning benefits on

participation in the infringement and establishing the timing and manner of the infringement.

       22.     Defendant’s infringement has been and is willful. Defendant knew of the ‘100

patent long before this suit was filed. For example, AlmondNet and Defendant communicated, e.g.,

in the 2015 time frame and after 2015, regarding AlmondNet’s patent portfolio, including the

Asserted Patents. In these discussions, AlmondNet notified Defendant of the asserted patents,

including the ‘100 patent. Despite Defendant’s knowledge of the ‘100 patent, Defendant continued

to infringe. In doing so, Defendant knew, or should have known, that its conduct amounted to

infringement of the ‘100 patent. Accordingly, Defendant is liable for willful infringement.

       23.     Defendant also knowingly and intentionally induces infringement of claims of the

‘100 patent in violation of 35 U.S.C. § 271(b). Defendant has had knowledge of the ‘100 patent

and the infringing nature of the Accused Products at least as early as when this Complaint was

filed and/or earlier, as set forth above. Despite this knowledge of the ‘100 patent, Defendant

continues to actively encourage and instruct its customers and end users (for example, through

user manuals and online instruction materials on its website) to use the Accused Products in ways

that directly infringe the ‘100 patent. Defendant does so knowing and intending that its customers

and end users will commit these infringing acts. Defendant also continues to make, use, offer for

sale, sell, and/or import the Accused Products, despite its knowledge of the ‘100 patent, thereby

specifically intending for and inducing its customers to infringe the ‘100 patent through the




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customers’ normal and customary use of the Accused Products.

        24.     Defendant has also infringed, and continue to infringe, claims of the ‘100 patent by

offering to commercially distribute, commercially distributing, making, and/or importing the

Accused Products, which are used in practicing the process, or using the systems, of the patent,

and constitute a material part of the invention. Defendant knows the components in the Accused

Products to be especially made or especially adapted for use in infringement of the patent, not a

staple article, and not a commodity of commerce suitable for substantial noninfringing use.

Accordingly, Defendant has been, and currently are, contributorily infringing the ‘100 patent, in

violation of 35 U.S.C. § 271(c).

        25.     The Accused Products satisfy all claim limitations of claims of the ‘100 patent. A

claim charts comparing independent claims of the ‘100 patent to representative Accused Product,

is attached as Exhibit ..

        26.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Defendant has injured AlmondNet and are liable for infringement of the

‘100 patent pursuant to 35 U.S.C. § 271.

        27.     As a result of Defendant’s infringement of the ‘100 patent, AlmondNet is entitled

to monetary damages in an amount adequate to compensate for Defendant’s infringement, but in

no event less than a reasonable royalty for the use made of the invention by Defendant, together

with interest and costs as fixed by the Court.

        28.     Defendant’s infringing activities have injured and will continue to injure

AlmondNet, unless and until this Court enters an injunction prohibiting further infringement of the

‘100 patent, and, specifically, enjoining further manufacture, use, sale, importation, and/or offers

for sale that come within the scope of the patent claims.




                                                 7
                                            COUNT III

                      INFRINGEMENT OF U.S. PATENT NO. 8,677,398

        29.     AlmondNet realleges and incorporates by reference the foregoing paragraphs as if

fully set forth herein.

        30.     AlmondNet owns all rights, title, and interest in U.S. Patent No. 8,677,398, titled

“system and methods for taking action with respect to one network-connected device based on

activity on another device connected to the same network,” issued on March 18, 2014. (’398

patent). A true and correct copy of the ’398 Patent is attached as Exhibit ..

        31.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“Accused Products”), such as, e.g., Roku’s advertising platform, that

directly infringe, literally and/or under the doctrine of equivalents, claims of the ‘398 patent.

        32.     The infringement of the Asserted Patents is also attributable to Defendant.

Defendant and/or users of the Accused Products directs and controls use of the Accused Products

to perform acts that result in infringement the Asserted Patents, conditioning benefits on

participation in the infringement and establishing the timing and manner of the infringement.

        33.     Defendant’s infringement has been and is willful. Defendant knew of the ‘398

patent long before this suit was filed. For example, AlmondNet and Defendant communicated, e.g.,

in the 2015 time frame and after 2015, regarding AlmondNet’s patent portfolio, including the

Asserted Patents. In these discussions, AlmondNet notified Defendant of the asserted patents,

including the ‘398 patent. Despite Defendant’s knowledge of the ‘398 patent, Defendant continued

to infringe. In doing so, Defendant knew, or should have known, that its conduct amounted to

infringement of the ‘398 patent. Accordingly, Defendant is liable for willful infringement.

        34.     Defendant also knowingly and intentionally induces infringement of claims of the




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‘398 patent in violation of 35 U.S.C. § 271(b). Defendant has had knowledge of the ‘398 patent

and the infringing nature of the Accused Products at least as early as when this Complaint was

filed and/or earlier, as set forth above. Despite this knowledge of the ‘398 patent, Defendant

continues to actively encourage and instruct its customers and end users (for example, through

user manuals and online instruction materials on its website) to use the Accused Products in ways

that directly infringe the ‘398 patent. Defendant does so knowing and intending that its customers

and end users will commit these infringing acts. Defendant also continues to make, use, offer for

sale, sell, and/or import the Accused Products, despite its knowledge of the ‘398 patent, thereby

specifically intending for and inducing its customers to infringe the ‘398 patent through the

customers’ normal and customary use of the Accused Products.

        35.     Defendant has also infringed, and continue to infringe, claims of the ‘398 patent by

offering to commercially distribute, commercially distributing, making, and/or importing the

Accused Products, which are used in practicing the process, or using the systems, of the patent,

and constitute a material part of the invention. Defendant knows the components in the Accused

Products to be especially made or especially adapted for use in infringement of the patent, not a

staple article, and not a commodity of commerce suitable for substantial noninfringing use.

Accordingly, Defendant has been, and currently are, contributorily infringing the ‘398 patent, in

violation of 35 U.S.C. § 271(c).

        36.     The Accused Products satisfy all claim limitations of claims of the ‘398 patent. A

claim charts comparing independent claims of the ‘398 patent to representative Accused Product,

is attached as Exhibit ..

        37.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Defendant has injured AlmondNet and are liable for infringement of the




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‘398 patent pursuant to 35 U.S.C. § 271.

        38.     As a result of Defendant’s infringement of the ‘398 patent, AlmondNet is entitled

to monetary damages in an amount adequate to compensate for Defendant’s infringement, but in

no event less than a reasonable royalty for the use made of the invention by Defendant, together

with interest and costs as fixed by the Court.

        39.     Defendant’s infringing activities have injured and will continue to injure

AlmondNet, unless and until this Court enters an injunction prohibiting further infringement of the

‘398 patent, and, specifically, enjoining further manufacture, use, sale, importation, and/or offers

for sale that come within the scope of the patent claims.

                                            COUNT IV

                      INFRINGEMENT OF U.S. PATENT NO. 10,715,878

        40.     AlmondNet realleges and incorporates by reference the foregoing paragraphs as if

fully set forth herein.

        41.     AlmondNet owns all rights, title, and interest in U.S. Patent No. 10,715,878, titled

“targeted television advertisements based on online behavior,” issued on July 14, 2020. (’878

patent). A true and correct copy of the ’878 Patent is attached as Exhibit ..

        42.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“Accused Products”), such as, e.g., Roku’s advertising platform, that

directly infringe, literally and/or under the doctrine of equivalents, claims of the ‘878 patent.

        43.     The infringement of the Asserted Patents is also attributable to Defendant.

Defendant and/or users of the Accused Products directs and controls use of the Accused Products

to perform acts that result in infringement the Asserted Patents, conditioning benefits on

participation in the infringement and establishing the timing and manner of the infringement.




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       44.     Defendant’s infringement has been and is willful. Defendant knew of the ‘878

patent long before this suit was filed. For example, AlmondNet and Defendant communicated, e.g.,

in the 2015 time frame and after 2015, regarding AlmondNet’s patent portfolio, including the

Asserted Patents. In these discussions, AlmondNet notified Defendant of the asserted patents,

including the ‘878 patent. Despite Defendant’s knowledge of the ‘878 patent, Defendant continued

to infringe. In doing so, Defendant knew, or should have known, that its conduct amounted to

infringement of the ‘878 patent. Accordingly, Defendant is liable for willful infringement.

       45.     Defendant also knowingly and intentionally induces infringement of claims of the

‘878 patent in violation of 35 U.S.C. § 271(b). Defendant has had knowledge of the ‘878 patent

and the infringing nature of the Accused Products at least as early as when this Complaint was

filed and/or earlier, as set forth above. Despite this knowledge of the ‘878 patent, Defendant

continues to actively encourage and instruct its customers and end users (for example, through

user manuals and online instruction materials on its website) to use the Accused Products in ways

that directly infringe the ‘878 patent. Defendant does so knowing and intending that its customers

and end users will commit these infringing acts. Defendant also continues to make, use, offer for

sale, sell, and/or import the Accused Products, despite its knowledge of the ‘878 patent, thereby

specifically intending for and inducing its customers to infringe the ‘878 patent through the

customers’ normal and customary use of the Accused Products.

       46.     Defendant has also infringed, and continue to infringe, claims of the ‘878 patent by

offering to commercially distribute, commercially distributing, making, and/or importing the

Accused Products, which are used in practicing the process, or using the systems, of the patent,

and constitute a material part of the invention. Defendant knows the components in the Accused

Products to be especially made or especially adapted for use in infringement of the patent, not a




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staple article, and not a commodity of commerce suitable for substantial noninfringing use.

Accordingly, Defendant has been, and currently are, contributorily infringing the ‘878 patent, in

violation of 35 U.S.C. § 271(c).

        47.     The Accused Products satisfy all claim limitations of claims of the ‘878 patent. A

claim charts comparing independent claims of the ‘878 patent to representative Accused Product,

is attached as Exhibit ..

        48.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Defendant has injured AlmondNet and are liable for infringement of the

‘878 patent pursuant to 35 U.S.C. § 271.

        49.     As a result of Defendant’s infringement of the ‘878 patent, AlmondNet is entitled

to monetary damages in an amount adequate to compensate for Defendant’s infringement, but in

no event less than a reasonable royalty for the use made of the invention by Defendant, together

with interest and costs as fixed by the Court.

        50.     Defendant’s infringing activities have injured and will continue to injure

AlmondNet, unless and until this Court enters an injunction prohibiting further infringement of the

‘878 patent, and, specifically, enjoining further manufacture, use, sale, importation, and/or offers

for sale that come within the scope of the patent claims.

                                            COUNT V

                      INFRINGEMENT OF U.S. PATENT NO. 8,566,164

        51.     AlmondNet realleges and incorporates by reference the foregoing paragraphs as if

fully set forth herein.

        52.     AlmondNet owns all rights, title, and interest in U.S. Patent No. 8,566,164, titled

“targeted online advertisements based on viewing or interacting with television advertisements,”




                                                 12
issued on October 22, 2013 (’164 patent). A true and correct copy of the ’164 Patent is attached as

Exhibit ..

        53.    On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“Accused Products”), such as, e.g., Roku’s advertising platform, that

directly infringe, literally and/or under the doctrine of equivalents, claims of the ‘164 patent.

        54.    The infringement of the Asserted Patents is also attributable to Defendant.

Defendant and/or users of the Accused Products directs and controls use of the Accused Products

to perform acts that result in infringement the Asserted Patents, conditioning benefits on

participation in the infringement and establishing the timing and manner of the infringement.

        55.    Defendant’s infringement has been and is willful. Defendant knew of the ‘164

patent long before this suit was filed. For example, AlmondNet and Defendant communicated, e.g.,

in the 2015 time frame and after 2015, regarding AlmondNet’s patent portfolio, including the

Asserted Patents. In these discussions, AlmondNet notified Defendant of the asserted patents,

including the ‘164 patent. Despite Defendant’s knowledge of the ‘164 patent, Defendant continued

to infringe. In doing so, Defendant knew, or should have known, that its conduct amounted to

infringement of the ‘164 patent. Accordingly, Defendant is liable for willful infringement.

        56.    Defendant also knowingly and intentionally induces infringement of claims of the

‘164 patent in violation of 35 U.S.C. § 271(b). Defendant has had knowledge of the ‘164 patent

and the infringing nature of the Accused Products at least as early as when this Complaint was

filed and/or earlier, as set forth above. Despite this knowledge of the ‘164 patent, Defendant

continues to actively encourage and instruct its customers and end users (for example, through

user manuals and online instruction materials on its website) to use the Accused Products in ways

that directly infringe the ‘164 patent. Defendant does so knowing and intending that its customers




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and end users will commit these infringing acts. Defendant also continues to make, use, offer for

sale, sell, and/or import the Accused Products, despite its knowledge of the ‘164 patent, thereby

specifically intending for and inducing its customers to infringe the ‘164 patent through the

customers’ normal and customary use of the Accused Products.

        57.     Defendant has also infringed, and continue to infringe, claims of the ‘164 patent by

offering to commercially distribute, commercially distributing, making, and/or importing the

Accused Products, which are used in practicing the process, or using the systems, of the patent,

and constitute a material part of the invention. Defendant knows the components in the Accused

Products to be especially made or especially adapted for use in infringement of the patent, not a

staple article, and not a commodity of commerce suitable for substantial noninfringing use.

Accordingly, Defendant has been, and currently are, contributorily infringing the ‘164 patent, in

violation of 35 U.S.C. § 271(c).

        58.     The Accused Products satisfy all claim limitations of claims of the ‘164 patent. A

claim charts comparing independent claims of the ‘164 patent to representative Accused Product,

is attached as Exhibit ..

        59.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Defendant has injured AlmondNet and are liable for infringement of the

‘164 patent pursuant to 35 U.S.C. § 271.

        60.     As a result of Defendant’s infringement of the ‘164 patent, AlmondNet is entitled

to monetary damages in an amount adequate to compensate for Defendant’s infringement, but in

no event less than a reasonable royalty for the use made of the invention by Defendant, together

with interest and costs as fixed by the Court.

        61.     Defendant’s infringing activities have injured and will continue to injure




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AlmondNet, unless and until this Court enters an injunction prohibiting further infringement of the

‘164 patent, and, specifically, enjoining further manufacture, use, sale, importation, and/or offers

for sale that come within the scope of the patent claims.

                                            COUNT VI

                      INFRINGEMENT OF U.S. PATENT NO. 10,321,198

        62.     AlmondNet realleges and incorporates by reference the foregoing paragraphs as if

fully set forth herein.

        63.     AlmondNet owns all rights, title, and interest in U.S. Patent No. 10,321,198, titled

“system and methods for dealing with online activity based on delivery of a television

advertisement,” issued on June 11, 2019 (’198 patent). A true and correct copy of the ’198 Patent

is attached as Exhibit ..

        64.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“Accused Products”), such as, e.g., Roku’s advertising platform, that

directly infringe, literally and/or under the doctrine of equivalents, claims of the ‘198 patent.

        65.     The infringement of the Asserted Patents is also attributable to Defendant.

Defendant and/or users of the Accused Products directs and controls use of the Accused Products

to perform acts that result in infringement the Asserted Patents, conditioning benefits on

participation in the infringement and establishing the timing and manner of the infringement.

        66.     Defendant’s infringement has been and is willful. Defendant knew of the ‘198

patent long before this suit was filed. For example, AlmondNet and Defendant communicated, e.g.,

in the 2015 time frame and after 2015, regarding AlmondNet’s patent portfolio, including the

Asserted Patents. In these discussions, AlmondNet notified Defendant of the asserted patents,

including the ‘198 patent. Despite Defendant’s knowledge of the ‘198 patent, Defendant continued




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to infringe. In doing so, Defendant knew, or should have known, that its conduct amounted to

infringement of the ‘198 patent. Accordingly, Defendant is liable for willful infringement.

       67.     Defendant also knowingly and intentionally induces infringement of claims of the

‘198 patent in violation of 35 U.S.C. § 271(b). Defendant has had knowledge of the ‘198 patent

and the infringing nature of the Accused Products at least as early as when this Complaint was

filed and/or earlier, as set forth above. Despite this knowledge of the ‘198 patent, Defendant

continues to actively encourage and instruct its customers and end users (for example, through

user manuals and online instruction materials on its website) to use the Accused Products in ways

that directly infringe the ‘198 patent. Defendant does so knowing and intending that its customers

and end users will commit these infringing acts. Defendant also continues to make, use, offer for

sale, sell, and/or import the Accused Products, despite its knowledge of the ‘198 patent, thereby

specifically intending for and inducing its customers to infringe the ‘198 patent through the

customers’ normal and customary use of the Accused Products.

       68.     Defendant has also infringed, and continue to infringe, claims of the ‘198 patent by

offering to commercially distribute, commercially distributing, making, and/or importing the

Accused Products, which are used in practicing the process, or using the systems, of the patent,

and constitute a material part of the invention. Defendant knows the components in the Accused

Products to be especially made or especially adapted for use in infringement of the patent, not a

staple article, and not a commodity of commerce suitable for substantial noninfringing use.

Accordingly, Defendant has been, and currently are, contributorily infringing the ‘198 patent, in

violation of 35 U.S.C. § 271(c).

       69.     The Accused Products satisfy all claim limitations of claims of the ‘198 patent. A

claim charts comparing independent claims of the ‘198 patent to representative Accused Product,




                                                16
is attached as Exhibit ..

        70.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Defendant has injured AlmondNet and are liable for infringement of the

‘198 patent pursuant to 35 U.S.C. § 271.

        71.     As a result of Defendant’s infringement of the ‘198 patent, AlmondNet is entitled

to monetary damages in an amount adequate to compensate for Defendant’s infringement, but in

no event less than a reasonable royalty for the use made of the invention by Defendant, together

with interest and costs as fixed by the Court.

        72.     Defendant’s infringing activities have injured and will continue to injure

AlmondNet, unless and until this Court enters an injunction prohibiting further infringement of the

‘198 patent, and, specifically, enjoining further manufacture, use, sale, importation, and/or offers

for sale that come within the scope of the patent claims.

                                            COUNT VII

                      INFRINGEMENT OF U.S. PATENT NO. 10,628,857

        73.     AlmondNet realleges and incorporates by reference the foregoing paragraphs as if

fully set forth herein.

        74.     AlmondNet owns all rights, title, and interest in U.S. Patent No. 10,628,857, titled

“methods and apparatus for facilitated off-site targeted internet advertising,” issued on April 21,

2020 (’857 patent). A true and correct copy of the ’857 Patent is attached as Exhibit ..

        75.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“Accused Products”), such as, e.g., Roku’s advertising platform, that

directly infringe, literally and/or under the doctrine of equivalents, claims of the ‘857 patent.

        76.     The infringement of the Asserted Patents is also attributable to Defendant.




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Defendant and/or users of the Accused Products directs and controls use of the Accused Products

to perform acts that result in infringement the Asserted Patents, conditioning benefits on

participation in the infringement and establishing the timing and manner of the infringement.

       77.     Defendant’s infringement has been and is willful. Defendant knew of the ‘857

patent long before this suit was filed. For example, AlmondNet and Defendant communicated, e.g.,

in the 2015 time frame and after 2015, regarding AlmondNet’s patent portfolio, including the

Asserted Patents. In these discussions, AlmondNet notified Defendant of the asserted patents,

including the ‘857 patent. Despite Defendant’s knowledge of the ‘857 patent, Defendant continued

to infringe. In doing so, Defendant knew, or should have known, that its conduct amounted to

infringement of the ‘857 patent. Accordingly, Defendant is liable for willful infringement.

       78.     Defendant also knowingly and intentionally induces infringement of claims of the

‘857 patent in violation of 35 U.S.C. § 271(b). Defendant has had knowledge of the ‘857 patent

and the infringing nature of the Accused Products at least as early as when this Complaint was

filed and/or earlier, as set forth above. Despite this knowledge of the ‘857 patent, Defendant

continues to actively encourage and instruct its customers and end users (for example, through

user manuals and online instruction materials on its website) to use the Accused Products in ways

that directly infringe the ‘857 patent. Defendant does so knowing and intending that its customers

and end users will commit these infringing acts. Defendant also continues to make, use, offer for

sale, sell, and/or import the Accused Products, despite its knowledge of the ‘857 patent, thereby

specifically intending for and inducing its customers to infringe the ‘857 patent through the

customers’ normal and customary use of the Accused Products.

       79.     Defendant has also infringed, and continue to infringe, claims of the ‘857 patent by

offering to commercially distribute, commercially distributing, making, and/or importing the




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Accused Products, which are used in practicing the process, or using the systems, of the patent,

and constitute a material part of the invention. Defendant knows the components in the Accused

Products to be especially made or especially adapted for use in infringement of the patent, not a

staple article, and not a commodity of commerce suitable for substantial noninfringing use.

Accordingly, Defendant has been, and currently are, contributorily infringing the ‘857 patent, in

violation of 35 U.S.C. § 271(c).

        80.     The Accused Products satisfy all claim limitations of claims of the ‘857 patent. A

claim charts comparing independent claims of the ‘857 patent to representative Accused Product,

is attached as Exhibit ..

        81.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Defendant has injured AlmondNet and are liable for infringement of the

‘857 patent pursuant to 35 U.S.C. § 271.

        82.     As a result of Defendant’s infringement of the ‘857 patent, AlmondNet is entitled

to monetary damages in an amount adequate to compensate for Defendant’s infringement, but in

no event less than a reasonable royalty for the use made of the invention by Defendant, together

with interest and costs as fixed by the Court.

        83.     Defendant’s infringing activities have injured and will continue to injure

AlmondNet, unless and until this Court enters an injunction prohibiting further infringement of the

‘857 patent, and, specifically, enjoining further manufacture, use, sale, importation, and/or offers

for sale that come within the scope of the patent claims.

                                           COUNT VIII

                      INFRINGEMENT OF U.S. PATENT NO. 7,822,639

        84.     AlmondNet realleges and incorporates by reference the foregoing paragraphs as if




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fully set forth herein.

        85.     AlmondNet owns all rights, title, and interest in U.S. Patent No. 7,822,639, titled

“added-revenue off-site targeted internet advertising,” issued on October 26, 2010 (’639 patent).

A true and correct copy of the ’639 Patent is attached as Exhibit ..

        86.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“Accused Products”), such as, e.g., Roku’s advertising platform, that

directly infringe, literally and/or under the doctrine of equivalents, claims of the ‘639 patent.

        87.     The infringement of the Asserted Patents is also attributable to Defendant.

Defendant and/or users of the Accused Products directs and controls use of the Accused Products

to perform acts that result in infringement the Asserted Patents, conditioning benefits on

participation in the infringement and establishing the timing and manner of the infringement.

        88.     Defendant’s infringement has been and is willful. Defendant knew of the ‘639

patent long before this suit was filed. For example, AlmondNet and Defendant communicated, e.g.,

in the 2015 time frame and after 2015, regarding AlmondNet’s patent portfolio, including the

Asserted Patents. In these discussions, AlmondNet notified Defendant of the asserted patents,

including the ‘639 patent. Despite Defendant’s knowledge of the ‘639 patent, Defendant continued

to infringe. In doing so, Defendant knew, or should have known, that its conduct amounted to

infringement of the ‘639 patent. Accordingly, Defendant is liable for willful infringement.

        89.     Defendant also knowingly and intentionally induces infringement of claims of the

‘639 patent in violation of 35 U.S.C. § 271(b). Defendant has had knowledge of the ‘639 patent

and the infringing nature of the Accused Products at least as early as when this Complaint was

filed and/or earlier, as set forth above. Despite this knowledge of the ‘639 patent, Defendant

continues to actively encourage and instruct its customers and end users (for example, through




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user manuals and online instruction materials on its website) to use the Accused Products in ways

that directly infringe the ‘639 patent. Defendant does so knowing and intending that its customers

and end users will commit these infringing acts. Defendant also continues to make, use, offer for

sale, sell, and/or import the Accused Products, despite its knowledge of the ‘639 patent, thereby

specifically intending for and inducing its customers to infringe the ‘639 patent through the

customers’ normal and customary use of the Accused Products.

        90.     Defendant has also infringed, and continue to infringe, claims of the ‘639 patent by

offering to commercially distribute, commercially distributing, making, and/or importing the

Accused Products, which are used in practicing the process, or using the systems, of the patent,

and constitute a material part of the invention. Defendant knows the components in the Accused

Products to be especially made or especially adapted for use in infringement of the patent, not a

staple article, and not a commodity of commerce suitable for substantial noninfringing use.

Accordingly, Defendant has been, and currently are, contributorily infringing the ‘639 patent, in

violation of 35 U.S.C. § 271(c).

        91.     The Accused Products satisfy all claim limitations of claims of the ‘639 patent. A

claim charts comparing independent claims of the ‘639 patent to representative Accused Product,

is attached as Exhibit ..

        92.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Defendant has injured AlmondNet and are liable for infringement of the

‘639 patent pursuant to 35 U.S.C. § 271.

        93.     As a result of Defendant’s infringement of the ‘639 patent, AlmondNet is entitled

to monetary damages in an amount adequate to compensate for Defendant’s infringement, but in

no event less than a reasonable royalty for the use made of the invention by Defendant, together




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with interest and costs as fixed by the Court.

        94.     Defendant’s infringing activities have injured and will continue to injure

AlmondNet, unless and until this Court enters an injunction prohibiting further infringement of the

‘639 patent, and, specifically, enjoining further manufacture, use, sale, importation, and/or offers

for sale that come within the scope of the patent claims.

                                            COUNT IX

                      INFRINGEMENT OF U.S. PATENT NO. 8,595,069

        95.     AlmondNet realleges and incorporates by reference the foregoing paragraphs as if

fully set forth herein.

        96.     AlmondNet owns all rights, title, and interest in U.S. Patent No. 8,595,069, titled

“system and methods for dealing with online activity based on delivery of a television

advertisement,” issued on November 26, 2013 (’069 patent). A true and correct copy of the ’069

Patent is attached as Exhibit ..

        97.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“Accused Products”), such as, e.g., Roku’s advertising platform, that

directly infringe, literally and/or under the doctrine of equivalents, claims of the ‘069 patent.

        98.     The infringement of the Asserted Patents is also attributable to Defendant.

Defendant and/or users of the Accused Products directs and controls use of the Accused Products

to perform acts that result in infringement the Asserted Patents, conditioning benefits on

participation in the infringement and establishing the timing and manner of the infringement.

        99.     Defendant’s infringement has been and is willful. Defendant knew of the ‘069

patent long before this suit was filed. For example, AlmondNet and Defendant communicated, e.g.,

in the 2015 time frame and after 2015, regarding AlmondNet’s patent portfolio, including the




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Asserted Patents. In these discussions, AlmondNet notified Defendant of the asserted patents,

including the ‘069 patent. Despite Defendant’s knowledge of the ‘069 patent, Defendant continued

to infringe. In doing so, Defendant knew, or should have known, that its conduct amounted to

infringement of the ‘069 patent. Accordingly, Defendant is liable for willful infringement.

       100.    Defendant also knowingly and intentionally induces infringement of claims of the

‘069 patent in violation of 35 U.S.C. § 271(b). Defendant has had knowledge of the ‘069 patent

and the infringing nature of the Accused Products at least as early as when this Complaint was

filed and/or earlier, as set forth above. Despite this knowledge of the ‘069 patent, Defendant

continues to actively encourage and instruct its customers and end users (for example, through

user manuals and online instruction materials on its website) to use the Accused Products in ways

that directly infringe the ‘069 patent. Defendant does so knowing and intending that its customers

and end users will commit these infringing acts. Defendant also continues to make, use, offer for

sale, sell, and/or import the Accused Products, despite its knowledge of the ‘069 patent, thereby

specifically intending for and inducing its customers to infringe the ‘069 patent through the

customers’ normal and customary use of the Accused Products.

       101.    Defendant has also infringed, and continue to infringe, claims of the ‘069 patent by

offering to commercially distribute, commercially distributing, making, and/or importing the

Accused Products, which are used in practicing the process, or using the systems, of the patent,

and constitute a material part of the invention. Defendant knows the components in the Accused

Products to be especially made or especially adapted for use in infringement of the patent, not a

staple article, and not a commodity of commerce suitable for substantial noninfringing use.

Accordingly, Defendant has been, and currently are, contributorily infringing the ‘069 patent, in

violation of 35 U.S.C. § 271(c).




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        102.    The Accused Products satisfy all claim limitations of claims of the ‘069 patent. A

claim charts comparing independent claims of the ‘069 patent to representative Accused Product,

is attached as Exhibit ..

        103.    By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Defendant has injured AlmondNet and are liable for infringement of the

‘069 patent pursuant to 35 U.S.C. § 271.

        104.    As a result of Defendant’s infringement of the ‘069 patent, AlmondNet is entitled

to monetary damages in an amount adequate to compensate for Defendant’s infringement, but in

no event less than a reasonable royalty for the use made of the invention by Defendant, together

with interest and costs as fixed by the Court.

        105.    Defendant’s infringing activities have injured and will continue to injure

AlmondNet, unless and until this Court enters an injunction prohibiting further infringement of the

‘069 patent, and, specifically, enjoining further manufacture, use, sale, importation, and/or offers

for sale that come within the scope of the patent claims.

                                     PRAYER FOR RELIEF

        WHEREFORE, AlmondNet respectfully requests that this Court enter:

        a.      A judgment in favor of AlmondNet that Defendant has infringed, either literally

                and/or under the doctrine of equivalents, each of the Asserted Patents;

        b.      A judgment in favor of Plaintiff that Defendant has willfully infringed the Asserted

                Patents;

        c.      A permanent injunction prohibiting Defendant from further acts of infringement of

                each of the Asserted Patents;

        d.      A judgment and order requiring Defendant to pay AlmondNet its damages, costs,




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                expenses, and pre-judgment and post-judgment interest for Defendant’s

                infringement of each of the Asserted Patents;

        e.      A judgment and order requiring Defendant to provide an accounting and to pay

                supplemental damages to AlmondNet, including without limitation, pre-judgment

                and post-judgment interest;

        f.      A judgment and order finding that this is an exceptional case within the meaning

                of 35 U.S.C. § 285 and awarding to AlmondNet its reasonable attorneys’ fees

                against Defendant; and

        g.      Any and all other relief as the Court may deem appropriate and just under the

                circumstances.

                                     DEMAND FOR JURY TRIAL

        AlmondNet, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury

of any issues so triable by right.


 Dated: July 16, 2021                                Respectfully submitted,

                                                     /s/ Reza Mirzaie

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                                                     Attorneys for Plaintiff AlmondNet, Inc.




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